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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA                         )

vs.                                              )   Criminal Action No. 10-00222-KD-C

LEANNE MARIE FOX,                                )

Defendant.                                       )

                                             ORDER

       This action is before the Court on the “Defendant’s Appeal of Magistrates decision

regarding Conditions of Pre-Trial Release” (doc. 146). On January 5, 2011, U.S. Magistrate

Judge William E. Cassady endorsed denied the defendant’s motion to modify conditions of

release as follows:

       The vague and unsupported motion to change the conditions of release is denied,
       especially when the request is to be able to reside with a co-defendant also
       convicted of drug-related offenses. The Government's motion to file objections to
       this motion after the due date is granted. Upon consideration of the objections,
       they are found to be valid and counsel against the granting of defendant's motion.

(doc. 145).

       Rule 59(a) of the Federal Rules of Criminal Procedure governs appeals from a Magistrate

Judge’s decision on a non-dispositive matter. The Rule sets forth as follows:

       (a) Nondispositive Matters. A district judge may refer to a magistrate judge for
       determination any matter that does not dispose of a charge or defense. The
       magistrate judge must promptly conduct the required proceedings and, when
       appropriate, enter on the record an oral or written order stating the determination.
       A party may serve and file objections to the order within 14 days after being
       served with a copy of a written order or after the oral order is stated on the record,
       or at some other time the court sets. The district judge must consider timely
       objections and modify or set aside any part of the order that is contrary to law or




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       clearly erroneous. Failure to object in accordance with this rule waives a party's
       right to review.

Fed. R. Crim. P. Rule 59

       Rule 59 explains that in this circumstance, Fox must serve and file her objections to the

order and then this Court must consider her objections “and modify or set aside any part of the

order that is contrary to law or clearly erroneous.” Id. However, Fox’s appeal does not state any

specific objections. The appeal consists of one sentence: “Comes now, John Furman, attorney

for defendant, and respectfully appeals the January 5, 2011 decision denying Defendant’s Motion

to modify Conditions of Release.” (doc. 146). This sentence does not provide the Court with an

objection sufficient for the Court to consider whether “any part of the order” was “contrary to

law or clearly erroneous”. Accordingly, the appeal is dismissed.

       DONE this 14th day of January, 2011.



                                             s/ Kristi K. DuBose
                                             KRISTI K. DuBOSE
                                             UNITED STATES DISTRICT JUDGE




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